      Case 2:17-cr-00474-MWF Document 79 Filed 10/13/21 Page 1 of 2 Page ID #:457


                                                            amt v.s,oisr°Ric~r
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                                                            NTRAL DISTRICT OF
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                                                          Y                   CALIFORNIA
                                                                                 DEPUTY

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                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,              Case N o.   vZ •' I ~- — C./Z. ~ o~y ~- `I —Ic~~.J F

12                      Plaintiff,           ORDER OF DETENTION AFTER HEARING
                                                (Fed.R.Crim.P. 32.1(a)(6)
13                v.                              18 U.S.C. § 3143(a)
                                               Allegations of Violations of
14    '~.Anu~
      ~       ~     v~ 1 ~G(~o-~~              Probation/Supervised Release
                                                       Conditions)
15                      Defendant.

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            On arrest warrant issued by the United States District Court for
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      the        C.~ C./k                involving alleged violations of
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      conditions of probation/supervised release:
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            1.    The court finds that no condition or combination of
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                  conditions will reasonably assure:
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                  A.    (    the appearance of defendant as required; and/or
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                  B.    (r/~the safety of any person or the community.
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     Case 2:17-cr-00474-MWF Document 79 Filed 10/13/21 Page 2 of 2 Page ID #:458




 1        2.    The Court concludes:

 2              A.   ( ~) Defendant has failed to demonstrate by clear and

 3                         convincing evidence that he is not likely to pose

 4                         a risk to the safety of any other persons or the

 5                         community.     Defendant poses a risk to the safety

 6                         of other persons or the community based on:

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12              B.    (    Defendant has failed to demonstrate by clear and

13                         convincing evidence that he is not likely to flee

14                         if released.     Defendant poses a flight risk based



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21              IT IS ORDERED that defendant be detained.

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23        DATED:     1 ~~~3 ~~a-I

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25                                               0 ORABLE JACQ  INE CHOOLJIAN
                                                  ited States agistrate Judge
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